CHS@ loew-newman eegeasrs§§nne§ @eWFea@m<>f 3 Pa@e'r> 67
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

HE BY_.-. ..__....D.O.
AMERICAN PIONEER TITLE 05 gus 3 ` PH he 0|
INSURANCE COMPANY
T\'i@$.¢i»"i$ ?\A.. LiGULD
Plaintiff, Case No. 2:03cv2878 _ CLE}R U,S~ gtng CQLB`[
"' wm oF n, nunn

VERMA Y. PINKNEY,
BASIL S. BUCHANNAN and
GARY L. JEWELL,

Defeodants.
GARY L. JEWELL,

Third-party Plaintiff
v.
AMSOUTH BANK,

Third-party Defendant.
AMSOUTH BANK,

Fourth-party Plaiotiff,

V.

VERMA Y. PINKNEY and
BASIL S. BUCHANAN,

VVV\_/\_¢'\_JV`.J\-/V\_¢\_r\_¢\_J\J\_¢W\-/\-/\J\_J`_JVV\_#\./V\J\_/\_/Vv

Fourth-party Defendants.

 

ORDER GRANTING REQUEST FOR ENTRY OF DEFAUL'I`

 

Upon the Motion for Entry of Default, entered on August 31, 2005, entry of DEFAULT
IS HEREBY GRANTED against the defendant, Verma Y. Pinkney pursuant to
FRCP 55(a).

On July 18, 2005, this Court iled the summons returned executed on July, 25, 2005 .
Defendant had twenty days within which to answer or otherwise plead. Defendant Verma Y. Pinkney

This document entered on the docket sheet |n compliance
with nine 58 and/or re(a) FHCP on ' 'O

h£;s€i§§leodi WFHHEQ€§YHSRMEQ mfciitp§§j§r]§{r`ih@&) byFti‘§:dFQ§é§eii/R%le?§§§i%i?i°§oce§iill%? l D 68

ln compliance With Rule 55 (a), FRCP., plaintist motion for entry of default against the
above-named defendant is GRANTED. In accordance to Rule 55(0) for good cause shown, the court
may set aside an entry of default.
Entered this 31“‘ day of August, 2005.
THOMAS M. GOULD
Clerk of Court

By:
Deput lerk

DISTRICT OU - WESTENR DISRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:03-CV-02878 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

Larry Montgornery
GLANKLER BROWN, PLLC
One Cornmeree Square

Suite 1700

1\/lemphis7 TN 38103

Henry L. Klein

APPERSON CRUl\/[P & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

1\/lemphis7 TN 38119--397

Jeremy G. Alpert
GLANKLER BROWN
One Cornmeree Sq.
Ste. 1700

1\/lemphis7 TN 38103

Ellen B. Vergos

APPERSON CRUl\/[P & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

1\/lemphis7 TN 38119--397

Kermeth R. Shuttleworth

SHUTTLEWORTH WILLIAMS HARPER WARING & DERRICK
200 Jefferson Ave.

Ste. 1500

1\/lemphis7 TN 38103--630

Frank Hollornan
HOLLOMAN LAW OFFICE
242 Poplar Avenue
1\/lemphis7 TN 38103--194

Honorable J on MeCalla
US DISTRICT COURT

